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DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      20-11568

      RS FIT NW LLC




      Case Type :                       bk
      Case Number :                     20-11568
      Case Title :                      RS FIT NW LLC
      Judge :                           Karen B. Owens
      Courtroom :                       6th Floor Courtroom 3, Wilmington, DE
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